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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


KENNETH MYRICK,                        )
                                       )
      Plaintiff,                       )
                                       )
             v.                        )      1:15-cv-00045-JDL
                                       )
UNITED STATES OF AMERICA,              )
                                       )
      Defendant.                       )


          ORDER ON THE GOVERNMENT’S MOTION TO DISMISS

                                I. INTRODUCTION

      Kenneth Myrick, a veteran of the United States armed forces, claims that he

was negligently treated by Dr. Thomas Franchini (hereinafter “Franchini”), a former

Veterans Affairs podiatrist at the Togus Veterans Affairs Medical Center (the

“VAMC”). He also alleges that the VAMC and Franchini fraudulently concealed

Franchini’s negligence from him, thus preventing him from asserting his rights in a

timely fashion. In his Third Amended Complaint (ECF No. 88), Myrick brings claims

against the federal government (alternatively, the VAMC or the “Government”) for

professional negligence (Count I) and fraudulent concealment (Count II).          The

Government has moved to dismiss the Third Amended Complaint for lack of subject

matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1) (ECF No. 93).

      This is the second motion to dismiss that the Government has filed in this case.

In an Order issued in February 2016, I resolved almost all of the issues raised in the

Government’s first Motion to Dismiss in favor of the Government, ruling that Maine’s
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three-year limitations period for bringing claims against health care providers, 24

M.R.S.A. § 2902 (2017), is a statute of repose and not a statute of limitations, and

that § 2902 is not preempted by the Federal Tort Claims Act (“FTCA”), 28 U.S.C.A.

§ 2401(b) (2017). See ECF No. 29 at 40. The Government argues that because § 2902

is a statute of repose, the three-year repose period for the medical negligence alleged

by Myrick began to run no later than February 2005—the date of Myrick’s surgery

performed by Franchini—rather than from January 2013, when Myrick discovered

the facts underlying his claims. Thus, the claims alleged by Myrick are time-barred

absent some reason in law or equity for tolling the statute of repose.

      Myrick asserts that the statutory tolling provision in 14 M.R.S.A. § 859 (2017)

related to fraudulent concealment applies to his claims:

      If a person, liable to any action mentioned, fraudulently conceals the
      cause thereof from the person entitled thereto, or if a fraud is committed
      which entitles any person to an action, the action may be commenced at
      any time within 6 years after the person entitled thereto discovers that
      he has just cause of action[.]

14 M.R.S.A. § 859. If § 859 governs Myrick’s claims, its six-year limitations period

started to run “when the existence of the cause of action or fraud [was] discovered or

should have been discovered by the plaintiff in the exercise of due diligence and

ordinary prudence.” Westman v. Armitage, 215 A.2d 919, 922 (Me. 1966). Extending

the limitations period from three years from the date of the alleged tortious act in

accordance with § 2902’s statute of repose, to six years from the time Myrick

discovered the alleged tortious act, brings Myrick’s claims within § 859’s six-year

statute of limitations. Accordingly, I deferred a final ruling on the applicability of

§ 859 in connection with the first Motion to Dismiss to afford Myrick, and the

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plaintiffs in five related actions,1 the opportunity to conduct limited discovery on the

issue of fraudulent concealment and to seek to amend their complaints on the basis

of that discovery.

        For the reasons explained below, I conclude that a genuine dispute of material

fact exists with regard to whether the VAMC fraudulently concealed instances of

medical malpractice from Myrick, and that these facts are inextricably intertwined

with the merits of Myrick’s claims. Thus, I cannot yet determine whether, as a matter

of law, § 859 governs Myrick’s claims, and I deny the Motion to Dismiss as to Count

I (Negligence), in part, for that reason. The Government further moves to dismiss

Count I, in part, as to certain VAMC healthcare providers other than Franchini, and

Count II (Fraudulent Concealment) for lack of subject matter jurisdiction pursuant

to restrictions established by the FTCA in 28 U.S.C.A. §§ 2675(a) and 2680(h). As

explained below, I conclude that Count I should be dismissed as to healthcare

providers other than Franchini, and Count II should be dismissed entirely.

Accordingly, the Government’s Motion to Dismiss is granted, in part, as to Count I

and in full as to Count II. It is, however, denied, in part, as to Count I to the extent

it alleges negligence by Franchini and not by other healthcare providers.

                                       II. LEGAL ANALYSIS

        The Government seeks to dismiss the Third Amended Complaint for lack of

subject matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1). A




 1 See Wood v. United States, 1:14-cv-00399-JDL; Mansir v. United States, 1:14-cv-00503-JDL; Prescott v. United

States, 1:14-cv-00551-JDL; Korsiak v. United States, 1:15-cv-00220-JDL; and Downs v. United States, 1:15-cv-
00525-JDL.

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federal court generally may not rule on the merits of a case without first determining

that it has jurisdiction over the category of claim in the suit, i.e., subject matter

jurisdiction. See Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422,

430-31 (2007).

      A defendant may challenge the court’s subject matter jurisdiction pursuant to

Rule 12(b)(1) in two ways: facially or factually. See Torres-Negrón v. J & N Records,

LLC, 504 F.3d 151, 162 (1st Cir. 2007). In a facial attack, the court accepts as true

those allegations in the complaint—“sometimes augmented by an explanatory

affidavit or other repository of uncontested facts”—that are relevant to jurisdiction,

draws all reasonable inferences from them in the plaintiff’s favor, and determines

whether they are sufficient to establish the court’s subject matter jurisdiction.

Valentin v. Hosp. Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001); see also Torres-

Negrón, 504 F.3d at 162.

      A defendant may also mount a factual challenge to subject matter jurisdiction:

      The second way to engage the gears of Rule 12(b)(1) is by controverting
      the accuracy (rather than the sufficiency) of the jurisdictional facts
      asserted by the plaintiff and proffering materials of evidentiary quality
      in support of that position. Unlike, say, a motion for summary judgment
      under Federal Rule of Civil Procedure 56(c), this type of challenge under
      Federal Rule of Civil Procedure 12(b)(1)—which we shall call a “factual
      challenge”—permits (indeed, demands) differential factfinding. Thus,
      the plaintiff’s jurisdictional averments are entitled to no presumptive
      weight; the court must address the merits of the jurisdictional claim by
      resolving the factual disputes between the parties. In conducting this
      inquiry, the court enjoys broad authority to order discovery, consider
      extrinsic evidence, and hold evidentiary hearings in order to determine
      its own jurisdiction.




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Valentin, 254 F.3d at 363 (internal citations and footnote omitted). “In a situation

where the parties dispute the predicate facts allegedly giving rise to the court’s

jurisdiction, the district court will often need to engage in some preliminary fact-

finding.” Skwira v. United States, 344 F.3d 64, 71-72 (1st Cir. 2003).

       Where, in a factual challenge, the necessary facts are relevant both to

jurisdiction and to the merits of the plaintiff’s case, however, “the standard applicable

to a motion for summary judgment” applies. Torres-Negrón, 504 F.3d at 163 (quoting

Autery v. United States, 424 F.3d 944, 956 (9th Cir. 2005) (internal quotation marks

omitted)). If the material jurisdictional facts are not in dispute and the moving party

is entitled to prevail as a matter of law, then the motion to dismiss is granted. Torres-

Negrón, 504 F.3d at 163; Me. Human Rights Comm’n v. Sunbury Primary Care, P.A.,

770 F. Supp. 2d 370, 397 (D. Me. 2011). On the other hand, “[s]hould the plaintiff

present evidence showing that the relevant facts are genuinely disputed, the case

proceeds to trial and the jurisdictional dispute will be reevaluated once the factfinder

has resolved the issues of fact.” Sunbury, 770 F. Supp. 2d at 397 (citing Torres-

Negrón, 504 F.3d at 163); see also Valentin, 254 F.3d at 363 n.3 (“[F]or cases in which

the jurisdictional facts, though genuinely disputed, are inextricably intertwined with

the merits of the case . . . the court may defer resolution of the jurisdictional issue

until the time of trial.”). At trial, “[i]t is the plaintiff’s burden to prove the existence

of subject matter jurisdiction.” Aversa v. United States, 99 F.3d 1200, 1209 (1st Cir.

1996) (citing Murphy v. United States, 45 F.3d 520, 522 (1st Cir. 1995)).




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      Myrick’s Third Amended Complaint alleges facts intended to demonstrate

fraudulent concealment in two ways:           first, fraudulent concealment allegedly

committed by Franchini in concealing from Myrick his surgical negligence resulting

in a nerve entrapment; and second, fraudulent concealment allegedly committed by

the VAMC in concealing and/or failing to disclose Franchini’s negligent medical

treatment to Myrick. I address, in order, (1) the Government’s challenge to Myrick’s

allegations of fraudulent concealment; (2) whether a special relationship existed

between Myrick and the VAMC that imposed a duty on the VAMC to disclose

Franchini’s possible negligence to Myrick; and (3) the Government’s contention that

because the FTCA does not establish subject matter jurisdiction for any claim arising

out of misrepresentation, Count II of the Third Amended Complaint should be

dismissed because it specifically seeks damages for fraudulent concealment, a form

of misrepresentation.

1.    Fraudulent Concealment under 14 M.R.S.A. § 859

      To benefit from the six-year statute of limitations provided by § 859, Myrick

must establish that the VAMC or Franchini, acting as its employee, actively

concealed facts from him and that he relied on the concealment to his detriment.

Brawn v. Oral Surgery Assocs., 819 A.2d 1014, 1026 (Me. 2003). “Active concealment

of the truth connotes steps taken by a defendant to hide the true state of affairs from

the plaintiff.” Kezer v. Mark Stimson Assocs., 742 A.2d 898, 905 (Me. 1999) (internal

quotation marks omitted). Active concealment does not require an affirmative false

statement and “may consist as well in the concealment of what is true as in the



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assertion of what is false.” Horner v. Flynn, 334 A.2d 194, 203 (Me. 1975), overruled

on other grounds by Taylor v. Comm’r of Mental Health & Mental Retardation, 481

A.2d 139 (Me. 1984); see also Sprague Energy Corp. v. Massey Coal Sales Co., No. 05-

222-P-S, 2006 WL 696197, at *17 (D. Me. Mar. 15, 2006) (“Fraud need not necessarily

take the form of an express false statement; rather, it can be predicated on active

concealment of the truth.”).

       When a plaintiff alleges fraudulent concealment through the active

concealment of facts, the court must assess the allegations against the elements of

fraud: (1) the making of a false representation; (2) of a material fact; (3) with

knowledge of its falsity or in reckless disregard of whether it is true or false; (4) for

the purpose of inducing another to act upon it; and (5) justifiable and detrimental

reliance by the other person. Brawn, 819 A.2d at 1026; see also Harris Mgmt., Inc. v.

Coulombe, 151 A.3d 7, 16 n.7 (Me. 2016). “In alleging fraud or mistake, a party must

state with particularity the circumstances constituting fraud or mistake. Malice,

intent, knowledge, and other conditions of a person’s mind may be alleged generally.”

Fed. R. Civ. P. 9(b).

       Alternatively, Myrick may demonstrate that a special relationship existed

between himself and the VAMC or Franchini, acting as its employee, which imposed

a duty on the VAMC to disclose to Myrick the facts associated with the alleged

professional negligence, and that the duty was breached by the VAMC or Franchini.

See Brawn, 819 A.2d at 1026. Absent a special relationship, silence and inaction

alone are insufficient as a matter of law to establish active concealment because



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omission by silence is not tantamount to supplying false information. See Brae Asset

Fund, L.P. v. Adam, 661 A.2d 1137, 1140 (Me. 1995) (“[A]bsent a fiduciary or

confidential relationship[] there is no duty to disclose information.”); Glynn v. Atl.

Seaboard Corp., 728 A.2d 117, 120 (Me. 1999).

      I analyze Myrick’s assertion of fraudulent concealment by considering (A) the

relevant allegations of active concealment made by Myrick; (B) the Government’s

challenge to those allegations; and (C) Myrick’s allegations of a special relationship.

      A.     Myrick’s Allegations of Active Concealment

             i. Concealment by Dr. Franchini

      Myrick alleges that in February 2005, Franchini performed an Elmslie

procedure on his left ankle, and from the day of the surgery onward, Myrick has

continued to experience severe pain in his left leg. Myrick further alleges that his

pain is due to a nerve entrapment that occurred during the Elmslie procedure but

was not recognized by Franchini or by other VAMC doctors. Myrick claims that in

July 2007, he underwent an MRI scan and was re-examined by Franchini, who

explained that he saw no evidence of anything causing left ankle pain, including

nerve entrapment.      Myrick underwent arthroscopic knee surgery, which was

performed by another doctor at the Veterans Affairs Hospital in Boston,

Massachusetts in October 2007, to attempt to relieve the pain in his left leg, but

continued to have severe leg pain after the arthroscopic surgery. In January 2010,

Myrick returned to see Franchini, complaining of knee and ankle pain. Franchini




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prescribed Myrick a knee brace. Myrick alleges that Franchini actively concealed the

nerve entrapment caused by the 2005 surgery from him.

                 ii. Active Concealment by the VAMC

        Myrick also alleges in the Third Amended Complaint that the VAMC’s

administration established a process to investigate the quality of the care Franchini

provided to his patients that could not be completed in a timeframe that would allow

veterans, such as Myrick, to timely assert claims arising from Franchini’s medical

care. Specifically, the Third Amended Complaint alleges that in late 2009, the VAMC

became aware of general concerns regarding Franchini’s patient care. Dr. Timothy

Richardson, VAMC Chief of Staff, directed Dr. Robert Sampson, then Chief of

Surgery, to conduct a review of 25 random surgical procedures performed by

Franchini. Dr. Sampson completed his review in early April 2010, and concluded that

there appeared to be “significant documentation and quality of care issues in a

number of [the 25] cases.”2 In April 2010, the VAMC suspended Franchini who would

leave the VAMC later in 2010.                  On April 16, 2010, the VAMC administration

determined that institutional disclosures of unnecessary and inappropriate surgical

interventions by Franchini would be required. In January 2010, Dr. Richardson was

informed that Myrick was having ongoing problems related to his medical care. It

was over three years later that the VAMC contacted Myrick in January 2013 to

inform him that Franchini may have provided him substandard care. Myrick alleges




 2 It bears emphasis that this and the other alleged facts have not been fully examined and tested by the trial

process and finally determined by a factfinder.

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 that the VAMC actively concealed Franchini’s negligence from him by deliberately

 delaying its investigation and disclosure of Franchini’s negligence.

         B.       The Government’s Challenge

         The Government has submitted declarations and exhibits which, it contends,

 establish that neither Franchini nor the VAMC engaged in fraudulent concealment.

 In response, Myrick has submitted his own deposition transcripts and exhibits.

         As to Franchini, the Government argues that there is no evidence that

 Franchini knew the information he is alleged to have concealed, and, indeed, that

 Myrick’s own allegations concede that he did not. As to the VAMC, the Government

 argues: (1) that the facts do not show an intent to conceal but rather, at worst, a

 negligent but good faith investigation into Franchini; (2) that the facts show only

 nondisclosure rather than concealment; (3) even if the VAMC did conceal facts from

 Myrick, it is not alleged to have done so until after Myrick’s claims had become time-

 barred pursuant to § 2902’s three-year repose period; and (4) that Myrick discovered

 evidence of Franchini’s possible negligence shortly after his 2005 surgery which was

 more than six years before he filed his claim.3

         The Government makes both a facial and a factual challenge to Myrick’s

 allegations. Neither party cites to any decisional authority from this Circuit as to

 whether a defendant can have it both ways by asking the court to consider the



  3 As to this last argument, the Government contends that Myrick has neither objected nor responded in his

 opposition brief, which is grounds for waiver. Andrews v. Am. Red Cross Blood Servs., 251 F. Supp. 2d 976, 979
 (D. Me. 2003) (“Failure to respond to a motion to dismiss means that opposition to the motion is waived . . . and
 the motion may be granted for that reason alone[.]”). However, read as a whole, Myrick’s brief argues that Myrick
 did not discover or have reason to know that he had suffered negligent care until the Government so informed
 him in January 2013.

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 sufficiency of a complaint’s jurisdictional allegations, while simultaneously disputing

 most of those allegations and submitting evidence outside of the pleadings. In Torres-

 Negrón, however, the court noted that “if the movant, either in his motion or in any

 supporting materials, denies or controverts the pleader’s allegations of jurisdiction,

 then he is deemed to be challenging the actual existence of subject matter jurisdiction,

 and the allegations of the complaint are not controlling.” 504 F.3d at 162 n.8, quoting

 5 C. Wright & A. Miller, Federal Practice and Procedure, § 1363, at 653-54 (1969);

 but see Hollingsworth v. United States, No. CV-05-80-B-W, 2005 WL 3435099, at *4

 n.5 (D. Me. Dec. 14, 2005) (“[A]ddressing the sufficiency of the allegations in the

 Complaint would appear to be a necessary prerequisite before examining their

 underlying accuracy.”). I adopt the approach suggested by Torres-Negrón. Where, as

 here, a party disputes the jurisdictional allegations of a complaint and offers a

 substantial body of evidence in support of its position, the court’s inquiry should focus

 on that evidence to determine whether subject matter jurisdiction actually exists.

 Although I proceed accordingly, I note that even if a facial analysis was required, the

 allegations of Myrick’s Third Amended Complaint would survive facial scrutiny.

       It is apparent from the factual record that the jurisdictional facts, specifically,

 when the cause of action accrued, and the facts related to the merits (i.e., negligence)

 are intertwined. Both concern what Franchini allegedly did and said to Myrick,

 whether Franchini was or was not continuingly negligent, and what was and was not

 communicated to Myrick regarding the potential cause of his ongoing pain. As such,

 I employ the standard applicable to a motion for summary judgment in ruling on the



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 Government’s factual challenge, see Torres-Negrón, 504 F.3d at 162-63, by assessing

 the record in the light most favorable to Myrick as the nonmovant and resolving all

 reasonable inferences in his favor. See Small Justice LLC v. Xcentric Ventures LLC,

 873 F.3d 313, 323 (1st Cir. 2017). Applying that standard, I conclude that Myrick’s

 allegations of active concealment, although disputed by the Government, have a

 factual foundation and raise a genuine issue of disputed material fact concerning

 whether the VAMC concealed Franchini’s negligence from Myrick.4

         Turning first to Myrick’s allegations of active concealment by Franchini, I find

 that those allegations are cursory and unsupported by the record evidence. Fatal to

 Myrick’s argument, there is no evidence demonstrating that Franchini knew the 2005

 surgery had caused a nerve entrapment at the time he was allegedly concealing that

 fact from Myrick. On the contrary, Myrick’s allegations undercut his claim: Myrick

 himself alleges that the nerve entrapment that occurred during the 2005 Elmslie

 procedure went unrecognized by Franchini and other VA physicians. ECF No. 88 at

 ¶¶ 12, 27. In fact, Myrick alleges that between 2005 and 2012, he was seen by seven

 orthopedic surgeons, none of whom diagnosed the nerve entrapment or traced it to

 Franchini’s 2005 surgery. Compare id. at ¶ 23, with id. at ¶ 27. Even in February

 2013, when Myrick was examined by another VAMC podiatrist who determined that

 the 2005 Elmslie procedure had been unsuccessful, Myrick does not allege, and no

 evidence indicates, that the podiatrist recognized the nerve entrapment. See id. at ¶


  4  On January 16, 2018, I informed counsel that I intended to consider the full depositions of Timothy Richardson,
 Robert Sampson, Brian Stiller, and Ryan Lilly taken in the six related cases (see supra FN 1) but only excerpted
 in this case’s record, and certain exhibits to those depositions, which are entered into the record of the related
 cases but not here, as part of my evaluation of the Motion to Dismiss in this case. I gave counsel an opportunity
 to object to this approach, and no objection was filed.

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 26. It was not until 2014 that the VAMC—or any physician—determined that the

 2005 Elmslie procedure resulted in a nerve entrapment. Id. at ¶ 27. If Franchini did

 not recognize the existence of the nerve entrapment (a problem that took multiple

 medical professionals approximately nine years to diagnose), then, logically, he could

 not have concealed it from Myrick.      Thus, I conclude that there is no factual

 foundation for, and no factual dispute concerning, Myrick’s assertion that Franchini

 fraudulently concealed information related to negligence associated with the 2005

 ankle surgery.

       As to the VAMC, the parties first dispute whether the facts show the VAMC’s

 intent to conceal. The VAMC became aware of concerns with Franchini’s medical

 care in late 2009. The initial review of a sample of his cases completed in April 2010

 raised even greater concerns, prompting Franchini’s suspension and subsequent

 resignation, an investigation into all of Franchini’s surgical cases, and the

 expectation of an “Institutional Disclosure” pursuant to the VAMC’s VHA Directive

 2008-002 (the “Directive”).    The VAMC’s Directive states that “[i]nstitutional

 disclosure of an adverse event must take place as soon as possible (generally within

 24 hours, but no more than 72 hours if adequate information is available) after a

 practitioner’s discovery of the adverse event.” Wood v. United States, 1:14-cv-00399-

 JDL, ECF No. 72-5 at 10. The undisputed facts further show that no disclosures were

 made in 2010, and that the broader investigation into Franchini’s surgical cases

 conducted by Dr. Sampson stretched into 2012.        Dr. Richardson testified at his

 deposition that notwithstanding the reports he received from Dr. Sampson between



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 2010 and 2012, he decided not to make disclosures because he needed more

 information and because premature disclosures could cause liability for the VAMC.

 Wood, 1:14-cv-00399-JDL, ECF No. 112-6 at 32, 262, 266. Thus, rather than disclose,

 the VAMC undertook a secondary review of all of Franchini’s cases starting in the

 summer of 2012.

       The VAMC reviewed Myrick’s medical records on June 19, 2012, but did not

 communicate to Myrick that he may have received substandard care until January 9,

 2013, over six months later. The declarations of Dr. Richardson and former VAMC

 Chief Executive Officer, Brian Stiller, indicate that acceleration toward eventual

 disclosure occurred only when Stiller was replaced as the VAMC’s Chief Executive

 Officer. See ECF No. 93-2 at ¶ 8; ECF No. 93-1 at ¶ 6. Even at that point, Ryan Lilly,

 who was then the Director at the VAMC, testified at his deposition that the decision

 was made to delay disclosures until patients were re-examined. Wood, 1:14-cv-00399-

 JDL, ECF No. 112-8 at 15.

       I conclude that there is a genuine factual dispute as to whether the VAMC

 engaged not merely in possibly negligent nondisclosure, but also in a pattern of

 conduct that had the effect of keeping the potential controversy regarding Franchini’s

 patient care out of the public eye. There is evidence that VAMC officials avoided or

 delayed compliance with the Directive’s timeframes. The two VAMC officials most

 responsible for making the disclosures, Dr. Richardson and Chief Executive Officer

 Stiller, were ultimately disciplined by the Veterans Affairs administration for the

 years-long delay that occurred. Although both attributed that delay to inattention on



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 their part, and explained that they at all times were acting in good faith, the evidence

 also permits an inference that the disclosures were not made, at least in part, to avoid

 placing the VAMC in a negative light with respect to its care of potentially hundreds

 of its patients.   As of July 24, 2012, when the VAMC had reviewed all 431 of

 Franchini’s surgical cases, 60% or 257 were found to warrant institutional disclosure.

 See Prescott v. United States, 1:14-cv-00551-JDL, ECF No. 94-4 at 8, 10. These facts

 could support a finding that the VAMC’s course of conduct constituted not just

 unintentional bureaucratic delay or even negligent nondisclosure, but were “steps

 taken by a defendant to hide the true state of affairs from the plaintiff.” Kezer, 742

 A.2d at 905.

         The parties next dispute when Myrick’s statute of repose began to run. The

 Government asserts that because Myrick alleges harm resulting from negligently

 performed surgery, the latest his claim could have accrued is February 25, 2005, the

 day of the surgery that allegedly caused the nerve entrapment. As such, even

 assuming the VAMC did conceal information from Myrick after it had notice of

 Franchini’s negligent care in June 2012, that concealment was too late to save his

 claims from the operation of § 2902’s three-year repose period. “After a cause of

 action expires pursuant to the three-year statute of limitation no amount of

 subsequent concealment can revitalize an already stale claim.” Brawn, 819 A.2d at

 1026.

         In an effort to avoid the consequences of the three-year statute of repose having

 expired in 2008, Myrick argues that Franchini’s continuing failure to diagnose



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 Myrick’s nerve entrapment when he reexamined Myrick in 2007 and 2010,

 constituted continuing acts of medical malpractice. As announced by the Maine Law

 Court in Baker v. Farrand, 26 A.3d 806, 816 (Me. 2011), § 2902’s three-year repose

 period is measured under the “continuing negligent treatment doctrine” from the date

 of the last negligent act in situations involving two or more “related acts or omissions”

 by the same health care practitioner:

       [P]ursuant to section 2902, a plaintiff may bring a single action alleging
       continuing negligent treatment that arises from two or more related acts
       or omissions by a single health care provider or practitioner where each
       act or omission deviated from the applicable standard of care and, to at
       least some demonstrable degree, proximately caused the harm
       complained of, as long as at least one of the alleged negligent acts or
       omissions occurred within three years of the notice of claim.

 Id. In Baker, the Maine Law Court concluded that the defendant physician, who

 repeatedly failed to refer the plaintiff to a specialist, was not entitled to partial

 summary judgment as to those failures to refer which occurred outside of the repose

 period because there was a disputed material fact as to whether they were proximate

 causes of the plaintiff’s alleged harm:     the adverse effect on the prognosis and

 treatment options resulting from the delayed diagnosis of the plaintiff’s cancer. Id.

 at 816-17.

       Here, the Third Amended Complaint specifically asserts that the medical

 negligence claim is for the “negligently performed . . . surgical procedure that resulted

 in nerve entrapment, and then [the] continuous[] fail[ure] to recognize that nerve

 entrapment for many years or [the] conceal[ment of] that fact . . . as the cause of Mr.

 Myrick’s on[]going pain.” ECF No. 88, at ¶ 37. Myrick thus asserts that Franchini’s

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 continuous failure to recognize the nerve entrapment continued through Myrick’s last

 appointment with Franchini on January 27, 2010. The Government does not dispute

 that Myrick continued to see Franchini through January 27, 2010, or that Franchini

 never diagnosed the nerve entrapment.          These allegations—analogous to the

 continued failure by the physician in Baker to refer the plaintiff to a specialist—are

 sufficient to invoke the continuing negligent treatment doctrine. Thus, depending on

 how the relevant factual disputes are resolved, it is possible that Myrick’s three-year

 statute of repose did not expire until January 2013, roughly six months after the

 VAMC reviewed Myrick’s case and potentially began actively concealing information

 regarding Myrick’s substandard treatment from him.

       Finally, the parties dispute whether Myrick reasonably relied on the VAMC’s

 alleged concealment, and, relatedly, whether Myrick discovered or should have

 discovered Franchini’s negligence.    The Government contends Myrick should have

 discovered the negligence as early as July 2005. In support, the Government cites

 evidence indicating that Myrick complained in July 2005 that his knee and ankle

 pain had gotten worse after the surgery, that in September 2005 he said that his

 relationship with the VA had “dissolved,” and he made other statements complaining

 about the VA’s care of him. Many, if not most, of Myrick’s statements which were

 critical of the VAMC appear to be related to the care of his knee, not his ankle.

 Furthermore, there is evidence that Myrick visited physicians other than Franchini

 on at least six occasions between 2008 and 2009, and saw seven orthopedic surgeons

 between 2005 and 2012, none of whom diagnosed the nerve entrapment. Where, as



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 here, a series of physicians did not discover Franchini’s potential negligence, I

 conclude that a jury could reasonably infer that Myrick, although unhappy with the

 outcome of his 2005 ankle surgery, neither discovered nor should have discovered the

 same.

           Because I must assess the record in the light most favorable to Myrick as the

 nonmovant and resolve all reasonable inferences in his favor, I conclude that there is

 a factual dispute as to whether the VAMC intentionally delayed disclosures to conceal

 Franchini’s negligence from his patients, including Myrick.5 Franchini’s treatment

 of Myrick ended in January 2010. If the VAMC had disclosed its findings soon after

 the June 2012 review of Myrick’s care was completed, Myrick could have initiated a

 civil action within the three-year repose period established by § 2902 as well as the

 six-year limitations period established by § 859.

           Because the facts related to subject matter jurisdiction and the merits are both

 inextricably intertwined and largely in dispute, I cannot determine that Myrick’s

 allegations of negligence are time-barred, and I deny the Government’s Motion to

 Dismiss as to Count I on that basis.

           The Government also seeks dismissal of Count I’s claims of negligence against

 unnamed VAMC medical providers because there are no allegations in the Third

 Amended          Complaint         concerning         those      providers,       and     because   Myrick’s

 administrative notice-of-claim did not present any such allegations, a requirement of

 § 2675(a) of the FTCA. Section 2675(a) is a notice-of-claim provision that limits the



  5   I cannot and do not resolve that factual dispute at this stage of the proceedings.

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 FTCA’s waiver of sovereign immunity. It provides that “[a]n action shall not be

 instituted upon a claim against the United States . . . unless the claimant shall have

 first presented the claim to the appropriate Federal agency.” 28 U.S.C.A. § 2675(a).

 Myrick has, again, neither objected nor responded to this issue in his opposition brief.

 A failure to object or respond is grounds for waiver. Andrews, 251 F. Supp. 2d at 979.

 I therefore conclude that Myrick has waived his right to dispute this issue, and I

 dismiss Count I’s claims of negligence as to the other unnamed VAMC medical

 providers on that basis.

       C.     Special Relationship

       Myrick also contends that even absent active concealment, a special

 relationship existed between him and the VAMC so that the VAMC’s failure to inform

 him of Franchini’s malpractice constitutes fraudulent concealment. See Noveletsky

 v. Metro. Life Ins. Co., No. 2:12-cv-00021-NT, 2013 WL 2945058, at *9 (D. Me. June

 14, 2013) (“In Maine, fraud by failure to disclose or by silence may be established

 . . . by demonstrating a special relationship . . . that imposes an affirmative duty to

 disclose.”) (internal citations omitted).

       I determined in my February 2016 Order that Myrick had failed to establish

 that a special relationship existed between him and the VAMC based upon a hospital-

 patient relationship. ECF No. 29 at 31-32. Thus, Myrick’s argument that a special

 relationship existed between him and the VAMC is barred by the law of the case

 doctrine. Remexcel Managerial Consultants, Inc. v. Arlequín, 583 F.3d 45, 53 (1st Cir.

 2009) (quoting Arizona v. California, 460 U.S. 605, 618 (1983) (“When a court decides



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 upon a rule of law, that decision should continue to govern the same issues in

 subsequent stages in the same case.”).

       Even if it was not barred by the law of the case doctrine, Myrick’s argument

 would still fail. Maine law defines a “special relationship” as a relationship “giv[ing]

 rise to an affirmative duty to aid and protect, such as the relationship between a

 common carrier and passenger, employer and employee, parent and [minor] child, or

 innkeeper and guest.” Estate of Cummings v. Davie, 40 A.3d 971, 974 (Me. 2012)

 (quotation marks omitted). The nature of Myrick’s relationship with the VAMC—

 that of a veteran receiving medical care—does not reach the level of a power

 imbalance that characterized the relationships in which the Maine Law Court has

 recognized a special relationship. See, e.g., Dragomir v. Spring Harbor Hosp., 970

 A.2d 310, 315 (Me. 2009) (finding special relationship between hospital and highly

 vulnerable psychiatric patients); Fortin v. Roman Catholic Bishop of Portland, 871

 A.2d 1208, 1220-22 (Me. 2005) (finding special relationship between church and

 student/altar boy who was sexually abused by a priest). While the VAMC occupied

 an important role in Myrick’s life, its presence in his life “was not marked by a great

 disparity of position and influence.” Gniadek v. Camp Sunshine at Sebago Lake, Inc.,

 11 A.2d 308, 314-15 (Me. 2011).

       There was no special relationship between Myrick and the VAMC, and,

 therefore, there is no reason to apply § 859 on that basis.




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 2.    Dismissal of Count II - Fraudulent Concealment

       In addition to its argument that Myrick’s claims are time-barred pursuant to

 § 2902, the Government further argues that Count II, which seeks damages for the

 tort of fraudulent concealment (as distinguished from fraudulent concealment in

 connection with the application of § 859) should be dismissed for lack of subject

 matter jurisdiction pursuant to two provisions of the Federal Tort Claims Act, 28

 U.S.C.A. §§ 2675(a) and 2680(h).

       Section 2680(h) limits the FTCA’s waiver of sovereign immunity established in

 § 1346(b)—which authorizes suits against the United States for certain torts—over

 “[a]ny claim arising out of assault, battery, false imprisonment, false arrest,

 malicious prosecution, abuse of process, libel, slander, misrepresentation, deceit, or

 interference with contract rights[.]” 28 U.S.C.A. § 2680(h) (emphasis added). Thus,

 because Myrick’s count for fraudulent concealment is premised on an alleged

 misrepresentation, this Court lacks jurisdiction over it by operation of § 2680(h). See

 Mullens v. United States, 785 F. Supp. 216, 219 (D. Me. 1992) (“The

 misrepresentation exception to the FTCA bars suits based on negligent as well as

 deliberate misrepresentations . . . whether based on false statements or a failure to

 provide information[.]”) (internal quotations and citations omitted), aff’d, 976 F.2d

 724 (1st Cir. 1992). My earlier conclusion that fraudulent concealment applies to

 Myrick’s case for purposes of the statute of limitations analysis under § 859 bears no

 connection to, and does not save, the Third Amended Complaint’s count for fraudulent

 concealment as a basis to recover damages.



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       I therefore grant the Government’s Motion to Dismiss as to Count II. Because

 I conclude that Count II should be dismissed pursuant to § 2680(h), I do not analyze

 it under § 2675(a).

                                III. CONCLUSION

       For the foregoing reasons, the Government’s Motion to Dismiss the Third

 Amended Complaint (ECF No. 93) is GRANTED as to Count I to the extent alleging

 negligence against unnamed VAMC medical providers other than Franchini, and as

 to Count II in its entirety, and DENIED as to Count I to the extent alleging

 negligence by Franchini.


       SO ORDERED.


       Dated this 23rd day of February 2018.




                                                       /s/ JON D. LEVY
                                                    U.S. DISTRICT JUDGE




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